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               EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

       GEORGE ZIMMERMAN,

                              Plaintiff,           Case No: 8:20-cv-1077-CEH-CPT
                V.

       PETE BUTTIGIEG
       and ELIZABETH
       WARREN,
                              Defendants.

                       DECLARATION OF ELIZABETH WARREN

        I, Senator Elizabeth Warren, pursuant to 28 U.S.C.§ 1746, hereby declare

  as follows:

        1.      I am over the age of 18. I am fully competent to make this declaration.

  The following statements are based on my personal knowledge.

        2.      I am currently serving as United States Senator for Massachusetts.

        3.      Congress is currently in session, and my daily schedule is

  demanding with commitments related to my public duties.

        4.      On February 5, 2020, I was a primary candidate for the Democratic

  nomination for President of the United States.

        5.      In many cases, I write my own tweets. However, during this period of

  time in connection with the presidential campaign, I broadly authorized staff

  members to tweet on my behalf.

        6.       I did not draft the tweet at issue in this litigation.
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